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                 UNITED STATES DISTRICT COURT FOR
                   THE DISTRICT OF NEW HAMPSHIRE
__________________________________________
                                          )
Laurie Ortolano,                          )
                        Plaintiff         )
                                          )
v.                                        ) Civil Action No. 22-cv-00326-LM
                                          )
                                          )
The City of Nashua, et al.,               )
                        Defendants        )
__________________________________________)
          PLAINTIFF’S OBJECTION TO MOTION FOR JUDGMENT
             ON THE PLEADINGS OF DEFENDANTS STEVEN
                   BOLTON AND CELIA K. LEONARD
                                  OBJECTION
      The plaintiff, Laurie Ortolano, hereby objects to the Motion for Judgment on
the Pleadings of defendants Steven Bolton and Celia K. Leonard.

      The plaintiff is simultaneously filing a Memorandum of Law in Support of
the Objection to the Motion for Judgment on the Pleadings.

                          REQUEST FOR HEARING
      The plaintiff, Laurie Ortolano, hereby requests that the Court conduct a
hearing on the defendants’ Motion for Judgment on the Pleadings, a dispositive
motion.




Dated:       March 24, 2023                 Respectfully submitted,
                                            Laurie Ortolano, Plaintiff
                                            By her Attorneys,

                                            Olson & Olson, P.A.
                                            /s/ Kurt S. Olson
                                            Kurt S. Olson
                                            Bar ID No. 12518
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                          CERTIFICATE OF SERVICE

       I, Kurt S. Olson, hereby certify that this document, filed through the ECF
system, will be sent electronically forthwith to the registered participants as
identified on the Notice of Electronic Filing (NEF).


                                             /s/ Kurt S. Olson
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